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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,              )      Case No.: 2147040 NE14
                                       )
                   Plaintiff,          )
                                       )
      vs.                              )               ORDER
                                       )
DANIEL B. JOHNSON,                     )
                                       )
                    Defendant.         )



      IT IS ORDERED:

      On the Court’s own motion, the hearing scheduled on January 25, 2011 at 9:00 a.m.

is canceled and continued to January 24, 2011 at 9:00 a.m. before the undersigned

magistrate judge in Courtroom No. 7, Second Floor, Roman L. Hruska United States

Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The clerk will mail a copy of this

order to defendant Daniel B. Johnson at his address of 5412 North 49th Avenue, Omaha,

Nebraska 68104.

      DATED this 30th day of December, 2010.


                                              BY THE COURT:

                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge
